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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                          x
HAWAII STRUCTURAL IRONWORKERS :               Civil Action No.
PENSION TRUST FUND, Individually and on :
Behalf of All Others Similarly Situated,  :   CLASS ACTION
                                          :
                              Plaintiff,  :   COMPLAINT FOR VIOLATION OF THE
                                          :   FEDERAL SECURITIES LAWS
       vs.                                :
                                          :
AMC ENTERTAINMENT HOLDINGS, INC., :
ADAM M. ARON, CRAIG R. RAMSEY,            :
CHRIS A. COX, LIN ZHANG, JACK Q.          :
GAO, MAOJUN ZENG, ANTHONY J.              :
SAICH, LLOYD HILL, GARY F. LOCKE,         :
HOWARD W. KOCH, JR., KATHLEEN M. :
PAWLUS, CITIGROUP GLOBAL                  :
MARKETS INC., MERRILL LYNCH,              :
PIERCE, FENNER & SMITH                    :
INCORPORATED, BARCLAYS CAPITAL :
INC. and CREDIT SUISSE SECURITIES         :
(USA) LLC,                                :
                                          :
                              Defendants.
                                          :
                                          x   DEMAND FOR JURY TRIAL
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       Plaintiff Hawaii Structural Ironworkers Pension Trust Fund (“plaintiff”), individually and on

behalf of all others similarly situated, by plaintiff’s counsel, alleges the following upon information

and belief based on the investigation conducted by plaintiff’s counsel, which included, among other

things, a review of U.S. Securities and Exchange Commission (“SEC”) filings by AMC

Entertainment Holdings, Inc. (“AMC” or the “Company”), as well as securities analysts’ reports and

advisories about the Company, press releases, media reports and other public statements issued by or

about the Company. Plaintiff believes that substantial additional evidentiary support will exist for

the allegations set forth herein after a reasonable opportunity for discovery.

                                   NATURE OF THE ACTION

       1.       This is a federal securities class action on behalf of all purchasers of AMC Class A

common shares (hereinafter the “common stock” or “common shares”) in the Company’s secondary

public offering (the “SPO”) on or about February 8, 2017 seeking to pursue remedies under §§11,

12(a)(2) and 15 of the Securities Act of 1933 (the “Securities Act”), as well as on behalf of

purchasers of AMC common shares between December 20, 2016 and August 1, 2017, inclusive (the

“Class Period”), seeking to pursue remedies under §§10(b) and 20(a) of the Securities Exchange Act

of 1934 (the “Exchange Act”) and Rule 10b-5 promulgated thereunder (17 C.F.R. §240.10b-5).

                                 JURISDICTION AND VENUE

       2.       This Court has jurisdiction over the subject matter of this action pursuant to §22 of

the Securities Act [15 U.S.C. §77v], §27 of the Exchange Act [15 U.S.C. §78aa], and 28 U.S.C.

§§1331 and 1337.

       3.       The claims asserted herein arise under and pursuant to §§11, 12(a)(2) and 15 of the

Securities Act [15 U.S.C. §§77k, 77l(a)(2) and 77o], §§10(b) and 20(a) of the Exchange Act [15

U.S.C. §§78j(b) and 78t(a)] and Rule 10b-5 promulgated thereunder [17 C.F.R. §240.10b-5].



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        4.       Venue is properly laid in this District pursuant to §22 of the Securities Act, §27 of the

Exchange Act and 28 U.S.C. §1391(b) and (c). The acts and conduct complained of herein occurred

in substantial part in this District, as the representatives of the underwriters of the SPO maintain their

principal places of business and conducted the SPO in this District, AMC was represented in the

SPO by the New York City office of Weil, Gotshal & Manges, the Underwriter Defendants (as

defined below) were represented by the New York City office of Latham & Watkins LLP, and AMC

common stock is listed and trades on the New York Stock Exchange (“NYSE”).

        5.       In connection with the acts alleged in this complaint, defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited to,

the mails, interstate telephone communications and the facilities of the national securities markets.

                                               PARTIES

        6.       Plaintiff Hawaii Structural Ironworkers Pension Trust Fund purchased AMC common

shares, as set forth in the accompanying certification incorporated by reference herein, and was

damaged thereby.

        7.       Defendant AMC is principally involved in the theatrical exhibition business and

owns, operates or has interests in theaters located in the United States and Europe.

        8.       Defendant Adam M. Aron (“Aron”) served, at all relevant times, as President, Chief

Executive Officer and a director of AMC.

        9.       Defendant Craig R. Ramsey (“Ramsey”) served, at all relevant times, as Executive

Vice President and Chief Financial Officer of AMC.

        10.      Defendant Chris A. Cox (“Cox”) served, at all relevant times, as Senior Vice

President and Chief Accounting Officer of AMC.

        11.      Defendants Lin Zhang (“Zhang”), Jack Q. Gao (“Gao”), Maojun Zeng (“Zeng”),

Anthony J. Saich (“Saich”), Lloyd Hill (“Hill”), Gary F. Locke (“Locke”), Howard W. Koch, Jr.
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(“Koch”) and Kathleen M. Pawlus (“Pawlus”‘) are, or were at the time of the SPO, members of

AMC’s Board of Directors.

       12.     Defendants Aron, Ramsey, Cox, Zhang, Gao, Zeng, Saich, Hill, Locke, Koch and

Pawlus are collectively referred to herein as the “Individual Defendants.” Each of the Individual

Defendants signed the materially inaccurate Registration Statement (as defined below) issued in

connection with the SPO.

       13.     Defendants Citigroup Global Markets Inc. (“Citigroup”), Merrill Lynch, Pierce,

Fenner & Smith Incorporated (“Merrill Lynch”), Barclays Capital Inc. (“Barclays”) and Credit

Suisse Securities (USA) LLC (“Credit Suisse”) each served as joint book-running underwriters for

the SPO and are collectively referred to herein as the “Underwriter Defendants.” Together, the

underwriters for the SPO received commissions and other professional fees of approximately $23.6

million in connection therewith.

       14.     The Underwriter Defendants participated in the drafting and dissemination of the

Registration Statement for the SPO. The Underwriter Defendants failed to perform adequate due

diligence in connection with their roles as underwriters and were negligent in failing to ensure that

the Registration Statement for the SPO was prepared accurately and in accordance with the rules

governing its preparation. The Underwriter Defendants’ failure to conduct an adequate due

diligence investigation was a substantial factor leading to the harm complained of herein.

       15.     Unless otherwise noted, defendant AMC, the Individual Defendants and the

Underwriter Defendants are collectively referred to herein as “Defendants.”

                              CLASS ACTION ALLEGATIONS

       16.     Plaintiff brings this lawsuit as a class action pursuant to Federal Rules of Civil

Procedure 23(a) and 23(b)(3) individually and on behalf of all persons, other than Defendants, who


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purchased AMC common stock in the SPO on or about February 8, 2017, as well as on behalf of

purchasers of AMC’s common shares during the Class Period (the “Class”).

        17.     Excluded from the Class are Defendants, members of the immediate families of each

of the Individual Defendants, any person, firm, trust, corporation, officer, director or other individual

or entity in which any of the Defendants has a controlling interest or which is related to or affiliated

with any of the Defendants, and the legal representatives, agents, affiliates, heirs, successors-in-

interest or assigns of any such excluded party.

        18.     The members of the Class are so numerous that joinder of all members is

impracticable. During the Class Period, between 34 and 55 million AMC common shares were

outstanding. While the exact number of Class members is unknown to plaintiff at this time and can

only be ascertained through appropriate discovery, plaintiff believes that they number in the

hundreds or thousands. The names and addresses of the Class members can be ascertained from the

books and records of AMC, its transfer agent or the Underwriter Defendants. Notice can be

provided to such record owners by a combination of published notices and first-class mail, using

techniques and a form of notice similar to those customarily used in class actions arising under the

federal securities laws.

        19.     Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class action and securities litigation.

        20.     Plaintiff’s claims are typical of the claims of the other members of the Class, as all

Class members’ damages arise from and were caused by the same false and misleading

representations and omissions made by or chargeable to Defendants. Plaintiff does not have any

interests antagonistic to, or in conflict with, the Class.




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       21.        A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Since the damages suffered by individual Class members may be

relatively small, the expense and burden of individual litigation make it virtually impossible for the

Class members to seek redress for the wrongful conduct alleged. Plaintiff knows of no difficulty that

will be encountered in the management of this litigation that would preclude its maintenance as a

class action.

       22.        Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;

                  (b)    whether the Registration Statement and Prospectus issued in connection with

the SPO omitted and/or misrepresented material facts about the Company and its business;

                  (c)    whether certain statements made by defendants AMC, Aron and Ramsey to

the investing public during the Class Period were materially false and misleading;

                  (d)    whether the price of AMC common stock was artificially inflated during the

Class Period; and

                  (e)    the extent of injuries sustained by the members of the Class and the

appropriate measure of damages.

                                          BACKGROUND

The Company

       23.        Defendant AMC is a holding company that describes itself as the world’s largest

theatrical exhibition company. Having recently completed a string of acquisitions, AMC currently

owns and operates the world’s largest chain of movie theaters. As of December 31, 2016, the
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Company owned, operated or held interests in 660 theaters with a total of 8,293 screens in the United

States and 246 theaters and 2,265 screens in the United Kingdom and Europe.

       24.     AMC offers consumers a range of entertainment alternatives, including traditional

film programming, independent and foreign films, performing arts, and music and sports, as well as

food and beverage alternatives, including made-to-order meals, customized coffee, healthy snacks,

beer, wine, premium cocktails and dine-in theater options.

       25.     AMC’s revenues are derived primarily from box office admissions, the Company’s

largest source of revenue, and theater food and beverage sales, the Company’s second largest source

of revenue. AMC also generates revenue from ancillary sources, including on-screen advertising,

fees earned from its AMC Stubs customer loyalty program, rental of theater auditoriums, income

from gift card and exchange ticket sales, and on-line ticketing fees.

       26.     According to its Form 10-K for the year ended December 31, 2016 (the “2016 Form

10-K”) the Company’s loyalty program (AMC Stubs) allows its members to earn rewards, receive

discounts and participate in exclusive members-only offerings and services. As of December 31

2016, AMC had more than 5.2 million active member households enrolled in its AMC Stubs

program. According to the 2016 Form 10-K, the AMC Stubs program is designed to strengthen

guest loyalty, attract new guests and drive additional return visits.

Recent AMC Acquisitions

       27.     On March 3, 2016, AMC and Carmike Cinemas, Inc. (“Carmike”) announced that

they had entered into a definitive merger agreement. Pursuant to the merger agreement, AMC

agreed to acquire all of the outstanding shares of Carmike for $30.00 per share in cash, or

approximately $757 million. In connection with the merger agreement, AMC agreed to enter into a

debt financing commitment letter, which provided for loans to fund the acquisition.


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       28.     On December 21, 2016, AMC completed the acquisition of Carmike for $858.2

million, comprising $584.3 million in cash and $273.9 million in common stock. In connection with

the Carmike acquisition, AMC also assumed $230 million in debt.

       29.     As of the acquisition date, Carmike operated 271 theaters and 2,923 screens located in

41 states across the United States. AMC’s SEC filings describe Carmike as one of the nation’s

largest motion picture exhibitors and a U.S. leader in digital cinema, 3-D cinema deployments and

alternative programming.

       30.     To obtain the necessary regulatory approval to acquire Carmike, AMC entered into a

settlement agreement with the U.S. Department of Justice pursuant to which it agreed, among other

things, to divest 17 AMC theaters in markets where the Company’s business overlapped that of

Carmike.

       31.     On November 30, 2016, AMC completed the acquisition of the outstanding equity of

Odeon and UCI Cinemas Holdings Limited (“Odeon”) for $637 million, comprising $480.3 million

in cash and $156.7 million in common stock. In connection with the acquisition, AMC also paid

Odeon’s indebtedness totaling $593.2 million.

       32.     As of the acquisition date, Odeon operated 242 theaters with 2,243 screens in four

major markets: United Kingdom, Spain, Italy and Germany; and three smaller markets: Austria,

Portugal and Ireland.

       33.     On January 23, 2017, AMC announced it had agreed to acquire Stockholm-based

Nordic Cinema Group Holding AB (“Nordic”), the largest theater exhibitor in seven countries in

Scandinavia and the Nordic and Baltic regions, from a European private equity firm and a Swedish

media group in an all-cash transaction valued at $929 million.




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       34.     AMC incurred various forms of debt to finance the above-noted acquisitions. In

particular, in connection with the Carmike acquisition, AMC entered into a $350 million bridge loan

agreement with affiliates of Citigroup, Merrill Lynch, Barclays, Credit Suisse and HSBC Securities

(USA) Inc., each of whom were underwriters in the SPO. Under the terms of the agreement with

these lenders, more than $30 million of the proceeds received by AMC in the SPO was to be used to

repay the above-noted bridge loan.

                                            THE SPO

       35.     On the same day the Company completed its acquisition of Carmike, December 21,

2016, AMC filed with the SEC a Form S-3 shelf registration statement (the “Form S-3”). The Form

S-3 was filed to permit the Company and its selling stockholders to offer and/or sell, from time to

time, AMC common shares in one or more offerings or resales.

       36.     Securities issuers utilizing a Form S-3 are permitted to incorporate by reference prior

periodic filings made with the SEC, including Forms 10-K and 10-Q.

       37.     On February 9, 2017, AMC filed with the SEC a prospectus (the “Prospectus”) for the

SPO offering to register for sale 21,904,761 common shares (including 2,857,142 common shares

pursuant to an overallotment option issued to the Underwriter Defendants) to be issued by AMC at a

price of $31.50 per share. The Company sold 20,330,874 common shares to the public in the SPO

and received net proceeds of approximately $618 million therefrom.

       38.     The SPO was sold pursuant to the Form S-3 and Prospectus (jointly referred to herein

as the “Registration Statement”) that contained inaccurate statements of material fact and omitted

material information required pursuant to the regulations governing their preparation.

       39.     The Registration Statement included materially inaccurate statements incorporated by

reference from Carmike’s Form 10-Q for the quarter ended September 30, 2016 (the “Carmike Q3

Form 10-Q”), including statements that inaccurately portrayed Carmike’s revenue growth in the first
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nine months of 2016. With respect to Carmike’s operations during the first nine months of 2016, the

Registration Statement stated, in pertinent part, as follows:




                                          *       *      *

               Total operating revenues increased 6.3% to $620.6 million for the nine
       months ended September 30, 2016 compared to $583.7 million for the nine months
       ended September 30, 2015, due to an increase in total attendance from 48.5 million
       for the nine months ended September 30, 2015 to 48.9 million for the nine months
       ended September 30, 2016, an increase in average admissions per patron from $7.36
       for the nine months ended September 30, 2015 to $7.59 for the nine months ended
       September 30, 2016 and an increase in average concessions and other sales per
       patron from $4.68 for the nine months ended September 30, 2015 to $5.11 for the
       nine months ended September 30, 2016. Excluding operating revenues from the
       acquired Sundance theatres which totaled $16.2 million, total operating revenues
       increased 3.5% to $604.4 million. The increase in total operating revenues,
       excluding the acquired Sundance theatres, was due to an increase in attendance from
       48.5 million for the nine months ended September 30, 2015 to 48.1 million for the
       nine months ended September 30, 2016, an increase in average admissions per patron
       from $7.36 to $7.53 and an increase in average concessions and other sales per
       patron from $4.68 to $5.04. Average admission per patron for the nine months ended
       September 30, 2016 increased due to the adoption of a tax on top pricing policy in
       the fourth quarter of 2015, the acquired Sundance theatres and revenues related to
       unredeemed gift cards, partially offset by summer promotional activities. Average
       concessions and other sales per patron increased primarily due to concession
       promotions, expanded food and beverage menus at certain locations, including our


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       in-theatre dining locations, the adoption of a tax on top pricing policy in the fourth
       quarter of 2015 and revenues related to unredeemed gift cards.

                                          *      *       *

               Admissions revenue increased 3.9% to $370.8 million for the nine months
       ended September 30, 2016 from $357.0 million for the same period in 2015, due to
       an increase in total attendance from 48.5 million for the nine months ended
       September 30, 2015 to 48.9 million for the nine months ended September 30, 2016
       and an increase in average admissions per patron from $7.36 for the 2015 period to
       $7.59 for the 2016 period. Excluding admissions revenue from the acquired
       Sundance theatres of $8.8 million, admissions revenue increased 1.4% to $362.0
       million in 2016 from $357.0 million in 2015.

                                          *      *       *

               Concessions and other revenue increased 10.2% to $249.7 million for the
       nine months ended September 30, 2016 compared to $226.7 million for the same
       period in 2015 due to an increase in total attendance from 48.5 million for the nine
       months ended September 30, 2015 to 48.9 million for the nine months ended
       September 30, 2016, an increase in average concessions and other sales per patron
       from $4.68 for the 2015 period to $5.11 for the 2016 period, revenues related to
       unredeemed gift cards and settlement funds related to the 2010 BP oil spill of $0.7
       million. Excluding concessions and other revenues from the acquired Sundance
       theatres of $7.3 million, concessions and other revenues increased 6.9% to $242.4
       million in the 2016 period from $226.7 million in the 2015 period.

       40.     The above-noted statements were materially inaccurate because the Registration

Statement failed to disclose that Carmike had been experiencing a significant loss in market share

during the first nine months of 2016 that was then having a material and on-going adverse effect on

its operating performance.

       41.     Once the Registration Statement spoke about Carmike’s revenues, its patron sales and

attendance, it had a duty to speak completely and accurately, including speaking about the effects of

issues that were then having a material adverse impact on Carmike’s operating results.

       42.     Indeed, by the time of the SPO, AMC had identified numerous issues, which the

Registration Statement failed to disclose, that were then having a material adverse effect on

Carmike’s operations.


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       43.     Approximately one and one-half months prior to the SPO (on December 20, 2016),

AMC held a conference call with analysts and investors to discuss the Company’s acquisition of

Carmike (the “Carmike conference call”). On the Carmike conference call, defendant Aron told

investors that, by December 20, 2016, AMC had had “plenty of time to look at . . . Carmike” and

understand and analyze its operations, including, among other things, the customer visitation-related

data associated with the Carmike theaters.

       44.     Approximately eight months later, and six months after the SPO, AMC held a

conference call (the “Q2 conference call”) with analysts and investors to discuss the Company’s

operating results for the its fiscal 2017 second quarter (“Q2”), the period ended June 30, 2017. As

noted below, during the Q2 conference call, defendant Aron disclosed that after Carmike had entered

into the merger agreement with AMC in March 2016, it ceased making necessary investments in its

business that caused it to experience a significant loss in market share.

       45.     On the Q2 conference call, defendant Aron identified “literally 6” different issues that

were having a material adverse effect on Carmike’s operations and patron attendance at the time of

the SPO, which AMC estimated would take until 2018 to resolve. Among these issues were: (i) only

a small number of Carmike’s loyalty program members were willing to join AMC’s loyalty program

after the acquisition; (ii) patronage lost to competitors that had upgraded and/or renovated their

facilities; and (iii) the closure of two of Carmike’s “biggest, most successful” theaters.

       46.     Pursuant to Instruction 11(a) of Form S-3, an issuer utilizing Form S-3 must disclose

“any and all material changes in the registrant’s affairs which have occurred since the end of the

latest fiscal year for which certified financial statements were included in the latest annual report to




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security holders and which have not been described in a report on Form 10-Q . . . or Form 8-K . . .

filed under the Exchange Act.”1

       47.        Here, the Registration Statement, including those SEC filings it incorporated by

reference, negligently failed to disclose the material changes that were having an adverse effect on

Carmike’s business at the time of the SPO, including those matters highlighted by defendant Aron

on the Q2 conference call. As a result, the Registration Statement omitted to state material facts

required to be stated therein in violation of the Securities Act.

       48.        In addition, the Registration Statement omitted material facts and included materially

inaccurate statements associated with its newly acquired international business. In particular, the

Registration Statement negligently failed to disclose that the gross margins on AMC’s second

highest source of revenue, food and beverage sales, associated with its newly acquired international

business were, and are, materially lower than what the Company had historically reported for its

domestic operations. In fact, food and beverage costs as a percentage of food and beverage revenue

associated with the Company’s international operations are approximately 50% greater than those

associated with its domestic operations.

       49.        As a result, the Registration Statement failed to comply with Instruction 11(a) of

Form S-3 and omitted to state material facts required to be stated therein in violation of the

Securities Act.

       50.        Moreover, the Registration Statement was required to furnish the above-noted

information about Carmike’s operations pursuant to Item 303 of Regulation S-K, Management’s

discussion and analysis of financial condition and results of operations (“MD&A”).




1
    Unless otherwise noted, all emphasis herein is added.

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       51.     The instructions to Item 303(a) of Regulation S-K require that the Registration

Statement provide disclosure about and “focus specifically” on material events and uncertainties that

would cause AMC’s reported financial information not to be necessarily indicative of future

operating results, including “matters that would have an impact on future operations and [matters

that] have not had an impact in the past,” stating, in pertinent part, as follows:

       The discussion and analysis shall focus specifically on material events and
       uncertainties known to management that would cause reported financial
       information not to be necessarily indicative of future operating results or of future
       financial condition. This would include descriptions and amounts of (A) matters
       that would have an impact on future operations and have not had an impact in the
       past, and (B) matters that have had an impact on reported operations and are not
       expected to have an impact upon future operations.

       52.     Lastly, the Registration Statement contained materially inaccurate statements with

respect to the seasonality of AMC’s foreign business.

       53.     Items 1 and 7 of Form 10-K required AMC to furnish the information called for under

Item 101 of Regulation S-K [17 C.F.R. §229.101(c)(1)(v)] and Item 303 of Regulation S-K [17

C.F.R. §229.303(b)], respectively, including, among other things, disclosure about the seasonal

nature of its business.

       54.     The Registration Statement, via AMC’s Form 10-K for the year ended December 31,

2015 (the “2015 Form 10-K”), which was incorporated by reference therein, disclosed, in pertinent

part, as follows:

       Seasonality

               Our revenues are dependent upon the timing of motion picture releases by
       distributors. The most marketable motion pictures are usually released during the
       summer and the year-end holiday seasons. Therefore, our business is highly
       seasonal, with higher attendance and revenues generally occurring during the
       summer months and holiday seasons. Our results of operations may vary
       significantly from quarter to quarter.




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       55.     The statements above were materially inaccurate because, contrary to the above-noted

disclosure, AMC’s newly acquired international operations generally experience lower attendance

and revenues during the summer months.

       56.     Accordingly, the Registration Statement contained materially inaccurate information

about the seasonality of AMC’s operations. As noted above, Instruction 11(a) of Form S-3 required

that the Registration Statement be updated to disclose “any and all material changes” in AMC’s

affairs, including the fact that AMC’s newly acquired international operations generally experience

lower attendance and revenues during the summer months, which it did not.

       57.     The Registration Statement otherwise failed to identify and disclose known trends,

events, demands, commitments and uncertainties associated with AMC’s Carmike and international

operations that were then having and were reasonably likely to have an on-going material adverse

effect on AMC’s operating performance.

       58.     As set forth in the SEC’s May 18, 1989 interpretative release to Item 303 of

Regulation S-K (the “1989 Interpretive Release”), a disclosure duty exists where a trend, demand,

commitment, event or uncertainty is both presently known to management and reasonably likely to

have a material effect on the registrant’s financial condition or results of operation. In this regard,

the 1989 Interpretive Release provides, in pertinent part, as follows:

       Item 303(a)(2)(i) requires a description of the registrant’s material “commitments”
       for capital expenditures as of the end of the latest fiscal period. However, even where
       no legal commitments, contractual or otherwise, have been made, disclosure is
       required if material planned capital expenditures result from a known demand, as
       where the expenditures are necessary to a continuation of the registrant’s current
       growth trend. Similarly, if the same registrant determines not to incur such
       expenditures, a known uncertainty would exist regarding continuation of the current
       growth trend. If the adverse effect on the registrant from discontinuation of the
       growth trend is reasonably likely to be material, disclosure is required. Disclosure of
       planned material expenditures is also required, for example, when such
       expenditures are necessary to support a new, publicly announced product or line of
       business.

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                                          *       *       *

               Events that have already occurred or are anticipated often give rise to known
       uncertainties. For example, a registrant may know that a material government
       contract is about to expire. The registrant may be uncertain as to whether the
       contract will be renewed, but nevertheless would be able to assess facts relating to
       whether it will be renewed. More particularly, the registrant may know that a
       competitor has found a way to provide the same service or product at a price less
       than that charged by the registrant, or may have been advised by the government
       that the contract may not be renewed. The registrant also would have factual
       information relevant to the financial impact of non-renewal upon the registrant. In
       situations such as these, a registrant would have identified a known uncertainty
       reasonably likely to have material future effects on its financial condition or
       results of operations, and disclosure would be required.

Management’s Discussion and Analysis of Financial Condition and Results of Operations; Certain

Investment Company Disclosures, Release Nos. 33-6835 and 34-26831, 1989 SEC LEXIS 1011, at

*15, *18 (May 18, 1989) (footnote omitted).

       59.     As set forth in the SEC’s December 19, 2003 interpretative release to Item 303 of

Regulation S-K (the “2003 Interpretive Release”), the Registration Statement was required to

provide disclosure about known demands, events or uncertainties, except for those that management

determined: (i) were not reasonably likely to occur; or (ii) would not have a material effect on

AMC’s operating results. The 2003 Interpretive Release states, in pertinent part, as follows:

               As we have explained in prior guidance, disclosure of a trend, demand,
       commitment, event or uncertainty is required unless a company is able to conclude
       either that it is not reasonably likely that the trend, uncertainty or other event will
       occur or come to fruition, or that a material effect on the company’s liquidity, capital
       resources or results of operations is not reasonably likely to occur.

Commission Guidance Regarding Management’s Discussion and Analysis of Financial Condition

and Results of Operations, Release Nos. 33-8350 and 34-48960, 2003 SEC LEXIS 3034, at *36

(Dec. 19, 2003) (footnote omitted).

       60.     In violation of these disclosure obligations, the Registration Statement failed to

disclose events and uncertainties associated with AMC’s Carmike and international operations,


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which were known by Defendants prior to the SPO and were reasonably likely to have a material

effect on the future operating results or future financial condition of AMC.

       61.      At the time of the filing of this complaint, AMC common shares were trading at

approximately $14 per share, less than half of the SPO price of $31.50 per share.

                                              COUNT I

                            For Violations of §11 of the Securities Act
                                     Against All Defendants

       62.      Plaintiff repeats and realleges each and every allegation contained above as if fully set

forth herein.

       63.      This Count is brought pursuant to §11 of the Securities Act, 15 U.S.C. §77k, on

behalf of the Class against all Defendants. For purposes of this Count, plaintiff does not claim that

Defendants committed intentional or reckless misconduct or that Defendants acted with scienter or

fraudulent intent.

       64.      The Registration Statement for the SPO was inaccurate and contained untrue

statements of material fact, omitted to state other facts necessary to make the statements made

therein accurate and omitted to state material facts required to be stated therein.

       65.      Plaintiff acquired AMC common shares pursuant to, and in reliance upon, the

Registration Statement, without knowledge of the untruths and/or admissions alleged herein.

       66.      Defendant AMC was the registrant for the SPO. As such, AMC is strictly liable to

the plaintiff and the Class under §11 of the Securities Act for the materially inaccurate statements

contained in the Registration Statement and its failure to be complete and accurate.

       67.      The Individual Defendants signed the Registration Statement either personally or

through an Attorney-in-Fact and caused its issuance. The Individual Defendants each had a duty to

make a reasonable and diligent investigation of the truthfulness and accuracy of the statements

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contained in the Registration Statement. The Individual Defendants had a duty to ensure that such

statements were true and accurate and that there were no omissions of material fact that would make

the statements in the Registration Statement inaccurate. By virtue of the Individual Defendants’

failure to exercise reasonable care, the Registration Statement contained inaccurate

misrepresentations and/or omissions of material fact. As such, the Individual Defendants are liable

to plaintiff and the Class.

        68.     The Underwriter Defendants failed to perform adequate due diligence in connection

with their roles as underwriters and were negligent in failing to ensure that the Registration

Statement was prepared completely and accurately. The Underwriter Defendants’ failure to conduct

an adequate due diligence investigation was a substantial factor leading to the harm complained of

herein. As such, the Underwriter Defendants are strictly liable to plaintiff and the Class.

        69.     The Defendants were responsible for the contents and dissemination of the

Registration Statement. None of the Defendants made a reasonable investigation or possessed

reasonable grounds for the belief that the statements contained in the Registration Statement were

true, without omission of any material fact, and were not inaccurate. By reasons of the conduct

herein alleged, Defendants violated §11 of the Securities Act.

                                              COUNT II

                     For Violations of §12(a)(2) of the Securities Act
      Against Defendants AMC, Aron, Ramsey, Cox and the Underwriter Defendants

        70.     Plaintiff repeats and realleges each and every allegation contained above as if fully set

forth herein.

        71.     This Count is brought pursuant to §12(a)(2) of the Securities Act, 15 U.S.C.

§77l(a)(2), on behalf of the Class against defendants AMC, Aron, Ramsey, Cox and the Underwriter




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Defendants. For purposes of this Count, plaintiff does not claim that Defendants committed

intentional or reckless misconduct or that Defendants acted with scienter or fraudulent intent.

          72.   The defendants named in this Count were sellers and offerors and/or solicitors of

purchasers of the common stock offered pursuant to the Prospectus issued in connection with the

SPO. The Prospectus was used to induce investors, such as plaintiff and the other members of the

Class, to purchase the common stock registered in the SPO.

          73.   The Prospectus contained untrue statements of material fact, omitted to state other

facts necessary to make the statements contained therein not inaccurate, and omitted to state material

facts required to be stated therein. These defendants’ actions of solicitation included participating in

the preparation of the false and inaccurate Prospectus and participating in road shows to market the

SPO to investors.

          74.   The Underwriter Defendants participated in the preparation and dissemination of the

defective and inaccurate Prospectus for their own financial benefit. But for their participation in the

SPO, including their solicitation as set forth herein, the SPO could not and would not have been

accomplished. Specifically:

                (a)    The Underwriter Defendants made the decision to underwrite the SPO and do

it at the price set forth in the Prospectus. The Underwriter Defendants drafted, revised and/or

approved the Prospectus. The Prospectus was calculated to create interest in AMC common stock

and was widely distributed by or on behalf of the Underwriter Defendants for that purpose.

                (b)    The Underwriter Defendants orchestrated all activities necessary to affect the

sale of the common stock in the SPO to the investing public by issuing the common stock,

promoting the common stock, and supervising its distribution and ultimate sale to the investing

public.


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       75.      The defendants named in this Count owed to the purchasers of AMC common stock,

including plaintiff and the other Class members, the duty to make a reasonable and diligent

investigation of the statements contained in the Prospectus and to ensure that such statements were

accurate and that they did not contain any misstatements or omissions of material fact. These

defendants, in the exercise of reasonable care, should have known that the Prospectus contained

misstatements and omissions of material fact.

       76.      Plaintiff and the other members of the Class purchased or otherwise acquired AMC

common stock pursuant to the Prospectus, and neither plaintiff nor the other Class members knew, or

in the exercise of reasonable diligence could have known, of the untruths, inaccuracies and

omissions contained in the Prospectus.

       77.      By reason of the conduct alleged herein, the defendants named in this Count violated

§12(a)(2) of the Securities Act. Accordingly, plaintiff, individually and on behalf of the Class,

hereby offers to tender to these defendants those shares of stock that plaintiff and the other Class

members continue to own, in return for the consideration paid for those shares together with interest

thereon. Class members who have sold their shares are entitled to rescissory damages.

                                             COUNT III

                            For Violation of §15 of the Securities Act
                               Against the Individual Defendants

       78.      Plaintiff repeats and realleges each and every allegation contained above as if fully set

forth herein.

       79.      This Count is asserted by plaintiff against the Individual Defendants for violations of

§15 of the Securities Act, 15 U.S.C. §77o. For purposes of this Count, plaintiff does not claim that

Defendants committed intentional or reckless misconduct or that Defendants acted with scienter or

fraudulent intent.

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       80.     The Individual Defendants acted as controlling persons of AMC within the meaning

of §15 of the Securities Act.

       81.     By reason of their ownership interest, senior management positions and/or

directorships at the Company, the Individual Defendants, individually and acting pursuant to a

common plan, had the power to influence and exercised the same to cause AMC to engage in the

conduct complained of herein and were therefore control persons of AMC. By reason of such

conduct, the Individual Defendants are liable pursuant to §15 of the Securities Act.

       82.     Each of the Individual Defendants was a culpable participant in the violations of §§11

and/or 12(a)(2) of the Securities Act alleged in Counts I and II above, based on their having signed

the Registration Statement and/or having otherwise participated in the process that allowed the SPO

to be successfully completed.

                                EXCHANGE ACT ALLEGATIONS

       83.     For the purposes of this section of the complaint, the term “Defendants” refers only to

defendants AMC, Aron and Ramsey.

       84.     On the first day of the Class Period, December 20, 2016, AMC issued a press release

announcing that it had obtained the regulatory approval necessary to complete the acquisition of

Carmike. Later that day, AMC held the Carmike conference call with analysts and investors to

discuss the Company’s acquisition of Carmike.

       85.     Defendant Aron began the conference call by announcing that, “[i]n total, we are as

confident today as we were back in March [2016] when this transaction was first announced, that the

growth potential for AMC is enhanced by joining forces with Carmike Cinemas.”

       86.     During the Carmike conference call, defendant Aron explained that AMC had

become thoroughly familiar with the acquired operations of both Odeon and Carmike. With respect

to the operations of Odeon, defendant Aron stated, in pertinent part, as follows:
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              On November 30, we completed the acquisition of Odeon [and] UCI Cinemas
       Group, since renamed Odeon[,] and our teams have already been on the ground
       since day one in Europe working with our colleagues at Odeon to integrate the UK
       and Europe’s largest movie exhibition circuit into the growing world of AMC.

       87.    Concerning Carmike, defendant Aron, in response to a securities analyst’s question,

explained that AMC had already spent “plenty of time” analyzing Carmike and understood, among

other things, Carmike’s customer visitation trends. The following exchange, in pertinent part,

transpired:

                [Eric Handler, Analyst, MKM Partners:] Thanks for taking my question.
       Two questions for you guys. First, with regards to Carmike, now you’ve had quite
       a bit of time to go through the Company’s books and access their assets. I’m just
       curious how fast do you think you can move in terms of doing some renovations and
       reseats at the circuit and what have you found from kicking the tires on the assets
       over the past, what’s nearly a year now? . . .

                [Defendant Aron:] Eric. I will take two of your three and Craig will take the
       third. In terms of what we’ve learned over the year, the blessing of – we announced
       the transaction in March. It’s now December. So we’ve had plenty of time to look
       at the Carmike circuit and to plan for the integration. . . .

                In terms of what we’ve learned, we’ve learned that, for all of our talk,
       including in my prepared remarks about – [AMC is] in big markets and [Carmike is]
       in small markets and actually there is a big chunk of theaters that overlap and so
       what we’ve decided to do is proceed with what we are calling a two-brand strategy,
       three brands if you count the dine-in theaters as its own sub-brand. You have some
       theaters that will be branded and taken to the public as AMC and other theaters
       that have less visitation that might have slightly lower service standards, branded
       as a second brand, but what we found is that there are plenty of Carmike theaters
       that are substantial enough in their visitation or locales to graduate, so to speak,
       into the AMC brand. And there are a lot of AMC theaters that also have lower
       visitation levels that we think are more like a Carmike theater than like an AMC
       theater.

               So I would expect that in excess of 50 current AMC theaters will move into
       the second brand and in excess of 100 [of the 271] Carmike theaters will move into
       the AMC brand. Now, just because they are different brands doesn’t mean that guest
       satisfaction will be lower in brand 2 than brand 1. It just means that we will offer
       different levels of service, amenities and price points and better marry consumer
       expectations to the reality of what’s being offered.

              So, I think that’s what we’ve learned . . . .


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       88.     Concerning the loyalty program, defendant Aron stated, in pertinent part, that the

combination of AMC and Carmike was “expected to broaden our appeal with moviegoers with more

people having access to the AMC Stubs loyalty program.”

       89.     The above-noted statements were materially false and misleading when made

because, as Defendants knew, but failed to disclose, AMC had identified several major issues

associated with Carmike’s operations that were then having a material adverse effect on its

operations and theater attendance. Indeed, AMC would later acknowledge that it would need until

the summer of 2018, if not longer, to remedy such matters.

       90.     On January 23, 2017, AMC issued a press release announcing that it had entered into

a definitive agreement to acquire Nordic, the largest theater exhibitor in seven countries in the

affluent northern region of Europe. According to the press release, Nordic operated 68 theaters and

had a substantial minority interest (approximately a 50% ownership) in another 50 associated

theaters. After the acquisition of Nordic, the Company’s domestic operations accounted for

approximately 70% of its total attendance, screens and revenue, while its newly acquired Odeon and

Nordic foreign operations accounted for approximately 30% of its total attendance, screens and

revenue.

       91.     Later that day, AMC held a conference call with analysts and investors to discuss the

Company’s acquisition of Nordic. During the conference call, defendant Aron touted the execution

of AMC’s integration of Carmike and Odeon as being “flawless,” stating, in pertinent part, as

follows:

              So far, vis-a-vis Carmike and Odeon, our efforts as best we can tell,
       surrounding integration planning and integration execution have been flawless.
       We fully expect this also will be the case on our third go-round in one year. With
       some practice, we’re getting pretty good at putting companies together, and of
       course everyone knows the old saying, about how you get to Carnegie Hall.


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       92.     During that same conference call, defendant Aron suggested that AMC’s foreign

acquisitions would close in time to benefit from a “busy summer film slate,” while deceptively

failing to disclose that any such benefit would be offset by seasonal factors, stating, in pertinent

part, as follows:

               Like in our Odeon transaction, European Commission approval will be
       required for closing, but as we’ve had recent experience with [the] EU, and as we
       have no theaters in these seven Northern European countries presently, we believe
       that securing EU approval should be both painless and quick. We expect closing to
       happen well within the first half of 2017, and ahead of the busy summer film slate.

       93.     On February 9, 2017, AMC filed the Prospectus for the SPO with the SEC. The

Registration Statement and Prospectus failed to disclose material information required to be

disclosed therein pursuant to the regulations governing their preparation and incorporated by

reference materially false and misleading SEC filings that they failed to update, as detailed herein.

       94.     On February 28, 2017, AMC issued a press release announcing its 2016 fourth quarter

and year-end financial results. The press release highlighted AMC’s record-setting fourth quarter

and year-end results across its revenue categories – admissions, food and beverage, and other – and

commented that the SPO’s proceeds would be used to pay for AMC’s recent acquisitions, stating, in

pertinent part, as follows:

               In connection with the acquisitions of Odeon/UCI and Carmike, and the
       planned acquisition of Nordic, in February 2017 AMC raised more than $640 million
       of additional equity through the sale of 20,330,874 shares of the Company’s Class A
       common stock, par value $0.01 per share, at $31.50 per share.

               The net proceeds of the offering were approximately $618.0 million after
       deducting underwriting commissions and before deducting estimated offering
       expenses. AMC used the net proceeds from this offering to repay $350 million
       principal amount of outstanding bridge loans incurred in connection with its
       completed acquisition of Carmike Cinemas, Inc. and intends to use the remaining
       proceeds to finance a portion of the previously announced acquisition of Nordic.
       If the Nordic acquisition is not consummated, AMC will use the net proceeds from
       the offering for general corporate purposes.



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       95.     Defendant Aron commented on AMC’s financial results, stating, in pertinent part, as

follows:

               “AMC’s laser-like focus on the priorities that drive considerable growth is
       what differentiates us, and what has established AMC as the clear and undisputed
       leader among movie-theater operators . . . . Our innovations with powered recliner
       seats, enhanced food and beverage initiatives and the expansion of premium large
       format offerings, combined with AMC’s world class marketing efforts, has created
       industry defining guest experiences and engagement. In concert with a prudent and
       opportunistic acquisition strategy, 2016 resulted in the successful acquisition of
       Odeon, Europe’s largest movie exhibitor, and Carmike Cinemas, the nation’s then
       fourth largest domestic exhibitor, and presented AMC with the opportunity to acquire
       Nordic Cinema Group, announced in January of 2017. AMC has never been better
       positioned to leverage our proven strategic initiatives across a growing platform
       both here in the U.S. and across the globe.”

       96.     After the earnings announcement, AMC held a conference call with analysts and

investors to discuss the Company’s earnings release and operations. During the call, defendant Aron

deceptively spoke about the seasonality of AMC’s newly acquired international operations, calling

the month of December one of the busiest of the year, stating, in pertinent part, as follows:

       Internationally, for the year, the year being defined as November 30 to December 31,
       the time in which we owned Odeon, total revenues were in Europe were [sic] $118.9
       million, $118.9 million, and adjusted EBITDA was $28.4 million.

              Please keep in mind that this adjusted EBITDA in Europe is a result of
       December movies, one of the busiest months of the year and should not be
       extrapolated merely by multiplying by 12 for full-year 2017.

       97.     In addition, defendant Aron stated that AMC’s integration of Carmike had “begun . . .

in earnest,” and AMC had identified “$35 million of cost synergies” associated with the Carmike

acquisition, which it expected to be “substantially realized” within the next ten months, stating, in

pertinent part, as follows:

       Carmike offers AMC complementary markets in suburban and rural regions of the
       country, with little market overlap and gives AMC a truly national footprint.

               We will deploy some of our strategic growth initiatives at every Carmike
       Theater and many will be renovated full-blown with recliner seating. We have also
       identified $35 million of cost synergies, which we believe will be substantially

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           realized by the end of 2017. We’ve already begun the integration in earnest,
           converting point-of-sale systems and vendor contracts and commencing initiative
           deployments.

           98.        Concerning AMC’s 2017 guidance, defendant Aron noted that consensus revenue and

earnings estimates set forth by securities analysts at that time “seem to be in the right ballpark.” Per

Thomson First Call, the consensus Wall Street estimates at that time were as follows:

                   AMC 2017 Wall Street Analysts’ Consensus Estimates
(Totals do not add due to rounding)    Revenue                   Earnings Per Share
Q1, March 31, 2017                          $1.168 billion                        $0.11
Q2, June 30, 2017                           $1.301 billion                        $0.37
Q3, September 30, 2017                      $1.198 billion                        $0.10
Q4, December 31, 2017                       $1.359 billion                        $0.48
Full Year 2017                              $5.044 billion                        $1.04

           99.        During the conference call’s Q&A session, defendant Aron falsely and misleadingly

announced that “you’ll start to see Carmike cinemas getting renovated in 2018 but, that’s probably a

2018, 2019 and – or 2018 and 2019, or 2018, 2019, and 2020 renovation plan.”

           100.       On March 10, 2017, AMC filed the 2016 Form 10-K with the SEC, which was signed

by the Individual Defendants. The 2016 Form 10-K contained materially false and misleading

disclosures concerning: (i) the operations of Carmike; (ii) the seasonality of AMC’s foreign

operations; (iii) the Company’s loyalty program, AMC Stubs; (iv) AMC’s MD&A; and (iv) AMC’s

disclosure controls.

           101.       In addition, the 2016 Form 10-K contained false and misleading certifications by

defendants Aron and Ramsey on AMC’s disclosure controls and procedures, which stated, in

pertinent part, as follows:

           I, [defendant Aron/defendant Ramsey] certify that:

           1.    I have reviewed this annual report on Form 10‑K of AMC Entertainment
           Holdings, Inc.;



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2.       Based on my knowledge, this report does not contain any untrue statement of
a material fact or omit to state a material fact necessary to make the statements made,
in light of the circumstances under which such statements were made, not misleading
with respect to the period covered by this report;

3.     Based on my knowledge, the financial statements, and other financial
information included in this report, fairly present in all material respects the financial
condition, results of operations and cash flows of the registrant as of, and for, the
periods presented in this report;

4.     The registrant’s other certifying officer and I are responsible for establishing
and maintaining disclosure controls and procedures (as defined in Exchange Act
Rules 13a‑15(e) and 15d‑15(e)) and internal control over financial reporting (as
defined in Exchange Act Rules 13a‑15(f) and 15d‑15(f)) for the registrant and have:

        a)      Designed such disclosure controls and procedures, or caused such
        disclosure controls and procedures to be designed under our supervision, to
        ensure that material information relating to the registrant, including its
        consolidated subsidiaries, is made known to us by others within those
        entities, particularly during the period in which this report is being prepared;

        b)      Designed such internal control over financial reporting, or caused
        such internal control over financial reporting to be designed under our
        supervision, to provide reasonable assurance regarding the reliability of
        financial reporting and the preparation of financial statements for external
        purposes in accordance with generally accepted accounting principles;

        c)      Evaluated the effectiveness of the registrant’s disclosure controls and
        procedures and presented in this report our conclusions about the
        effectiveness of the disclosure controls and procedures, as of the end of the
        period covered by this report based on such evaluation; and

        d)       Disclosed in this report any change in the registrant’s internal control
        over financial reporting that occurred during the registrant’s most recent
        fiscal quarter (the registrant’s fourth fiscal quarter in the case of an annual
        report) that has materially affected, or is reasonable likely to materially
        affect, the registrant’s internal control over financial reporting; and

5.     The registrant’s other certifying officer and I have disclosed, based on our
most recent evaluation of internal control over financial reporting, to the registrant’s
auditors and the audit committee of registrant’s board of directors (or persons
performing the equivalent functions):

        a)       All significant deficiencies and material weaknesses in the design or
        operation of internal control over financial reporting which are reasonably
        likely to adversely affect the registrant’s ability to record, process, summarize
        and report financial information; and

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               b)      Any fraud, whether or not material, that involves management or
               other employees who have a significant role in the registrant’s internal
               control over financial reporting.

       102.    The above-referenced false and misleading statements, omissions and certifications in

the 2016 Form 10-K were falsely and misleadingly repeated, in all material respects, in the Form

10-Q that AMC filed with the SEC later in the Class Period.

       103.    On March 10, 2017, AMC issued a press release announcing its intention to offer

$475 million in aggregate principal amount of dollar-denominated senior subordinated notes due

2027 and an additional £250 million aggregate principal amount of sterling-denominated 6.375%

Senior Subordinated Notes due 2024 in a private offering exempt from the registration requirements

of the Securities Act. According to the press release, AMC intended to use the net proceeds from

the offering to finance the acquisition of Nordic and pay related fees and expenses and to use any

remaining proceeds for general corporate purposes.

       104.    On April 19, 2017, AMC filed with the SEC a registration statement on Form S-4

offering to exchange all of the Company’s new 6.375% Senior Subordinated Notes due 2024 for all

of its outstanding 6.375% Senior Subordinated Notes due 2024, all of its new 5.875% Senior

Subordinated Notes due 2026 for all of its outstanding 5.875% Senior Subordinated Notes due 2026,

and all of its new 6.125% Senior Subordinated Notes due 2027 for all of our outstanding 6.125%

Senior Subordinated Notes due 2027.

       105.    Also on April 19, 2017, AMC issued a press release “to facilitate greater transparency

and clarity [and to provide] additional financial disclosure primarily related to its three recent

acquisitions.” Defendant Aron commented in the press release, in pertinent part, as follows:

       “We remain committed to providing appropriate and relevant financial disclosure to
       our shareholders. We believe that with the complexity and close timing of the three
       transformative acquisitions we have successfully completed in the last five months,
       the additional disclosure we are providing today, beyond the pro forma financial
       information we have already published, will be helpful for investors . . . . We
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       continue to be excited about the earnings potential for AMC as we have grown to a
       network of approximately 1,000 theaters and 11,000 screens in 15 countries in the
       U.S. and Europe. As we deploy our proven growth initiatives across our system, we
       expect to unlock both near-term and long-term value, as evidenced already by the
       fact that, as of today we expect to exceed the current FACTSET consensus EBITDA
       estimate for the first quarter ended March 31, 2017. When appropriate and feasible,
       we expect to provide additional financial disclosure related to the acquisitions and
       their contributions for the balance of 2017.”

       106.    On May 8, 2017, AMC issued a press release announcing its financial results for the

2017 first quarter (“Q1”), the period ended March 31, 2017. The press release highlighted AMC’s

record setting Q1 results across its revenue categories: admissions, food and beverage, and other.

Defendant Aron commented on the results, stating, in pertinent part, as follows:

               “AMC is off to a tremendous and record start in 2017. AMC’s ability to
       purposefully act on the opportunities and innovations that drive growth continues to
       set us apart and further solidifies our leadership position among movie-theatre
       operators in the U.S. and Europe . . . . Achieving record first quarter 2017 Adjusted
       EBITDA of $251.3 million is tangible evidence of what we have been saying for
       the better part of a year, that the earnings power of this new incarnation of a
       larger and more influential AMC is enormous compared to other operators and
       even to our own recent past.”

                . . . “We would particularly point out three important developments at AMC
       so far this year. First, at the legacy pre-acquisition AMC theatres, we grew revenues
       at a meaningfully faster pace than the industry at large, due in part to our
       commitment to renovating theatres and the strength of our impactful marketing
       programs. Second, with our domestic acquisition, our rapid move to achieve cost
       synergies and efficiencies brought immediate bottom line benefit, offsetting
       revenue weakness that had been prevalent at Carmike for eight of the twelve
       months and three of the last four months of 2016. We are directly focused on
       improving revenues at the acquired domestic theatres, as well as furthering the
       cost reduction efforts that already are well in hand. And third, we are thrilled both
       by our brisk start in driving immediate revenue and earnings growth in constant
       currency in Europe, and the likelihood that our plans to drive even more earnings
       through renovation of European theatres will come to initial fruition in quantity as
       early as the end of 2018.”

              . . . “We are only just beginning to unlock the growth potential of our recent
       acquisitions. The initial integration efforts of creating a transformed AMC have
       been done quickly and have been very smooth. As we now move to make what we
       expect will be highly lucrative investments in guest-facing initiatives like powered
       recliner seats, enhanced food and beverage offerings and the expansion of
       premium large format experiences, we are as confident as we could be in the
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       future earnings potential of AMC. We remain optimistic about the opportunity to
       continue to deliver meaningful value to our shareholders both in the balance of 2017
       and in the years ahead.”

       107.    Later that day, AMC held a conference call with analysts and investors to discuss the

Company’s Q1 earnings release and operations. During the conference call, defendant Aron

highlighted customer participation in AMC’s loyalty program, stating, in pertinent part, as follows:

               And speaking of the efficacy of those marketing programs, AMC Stubs . . .
       participation continues to soar. As of today, we have 7,553,209 AMC Stubs
       member households. We previously announced hitting 5 million member households
       on December 19 of last year; announced 6 million member households on February
       13 of this year; and 7 million member households on April 13, less than a month ago.
       So in a year, we’ve tripled the Stubs membership to numbers that we believe are
       light-years ahead of any other exhibitor program and the numbers continue to
       grow rapidly.

                                         *       *       *

               As previously mentioned, our rapidly growing number of AMC Stubs
       members accounted for approximately 25% of all ticket sales in Q1, and will soon
       account for more than 30% of all AMC moviegoers in the United States. These tens
       of millions of purchase histories now captured in our database offer us a treasure
       trove of data and consumer information for us to use to market AMC and future
       moviegoing more effectively.

       108.    After touting the integration of Carmike, defendant Aron deceptively stated that

“[t]here have literally been no operational snafus of any note to report.” Defendant Aron stated, in

pertinent part, as follows:

       The integration of Carmike into AMC is running very smoothly. As you know, we
       are retiring the Carmike name and are rebranding all our theaters as AMC, about 400
       of the 644; or AMC Dine-In, about 45 of the 644; or AMC Classic, about 200 of the
       remaining theater locations in the U.S. However, as our AMC and AMC Dine-In
       Theaters are considerably larger and get considerably more visitation, only about
       10% of our revenues will fall under the AMC Classic marquee.

              We have made great progress with the conversion of the acquired theaters.
       We only have 2 Carmike theaters as we speak, and by the end of this week, all
       Carmike theaters will have gone through their cutover to AMC systems, processes
       and brands. There have literally been no operational snafus of any note to report to
       you, and the new larger AMC is showing movies every day without pain in a much
       bigger national footprint.

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        109.    Defendant Aron then misleadingly noted that Carmike experienced “revenue

weakness” during 2016, but that AMC expected to “reverse soon” Carmike’s “short-term revenue

softness,” stating, in pertinent part, as follows:

        [W]ith Carmike, we have inherited a circuit that was showing revenue weakness in
        8 of the 12 months in 2016 and in 3 of the 4 months in the last trimester of 2016.
        Candidly, that was one of the allures to us of acquiring Carmike. As we look to the
        end of 2017 and into 2018, we are highly confident that AMC’s marketing activity
        and product ideas will generate a meaningful revenue boost to the Carmike theaters
        just newly added to our domestic platform.

               Fortunately, we were so aggressive in reducing expense and in achieving
        expense synergies that the cost savings are offsetting short-term revenue softness –
        again, which I’m quick to add, we expect to reverse soon on our watch.

        110.    Later on the conference call, defendant Aron, in response to an analyst’s question,

spoke about Carmike’s revenue softness and AMC management’s ability to remedy it, stating, in

pertinent part, as follows:

                With respect to the Carmike theaters, when I talk about revenue softness,
        I’m not talking about revenue declines. What I’m talking about is that the AMC
        Theatres have been growing faster than the Carmike theaters have been growing,
        if you take, though, the totality of it all. So no, we’re – there’s no thought to
        shuttering any Carmike theaters.

                We think we have an A team in place here in Kansas City that has generated
        great results for AMC over the past year. That’s why AMC revenues are up 6.2%
        when the industry is up 4%, 5%. That same team is now wholly focused on the
        Carmike theaters, not only from a system basis but also theater-by-theater. And
        we’re highly confident we’re going to make a lot of progress across the Carmike
        system.

                                           *         *    *

                And so – but it took Carmike a year to get into this position. We said that
        their revenue softness was 8 months out of 12, so we’re not going to get out of it in a
        week. But I think, as we look to the second half of ‘17, as we look certainly to ‘18,
        we’ll start to see the Carmike theaters perform in a really good way. And as I said,
        something on the order of 2/3 of the incremental dollar drops down to the bottom
        line.




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        111.    Near the end of the conference call, defendant Aron stated that “a lot of Carmike

theaters . . . are doing just great” and that AMC had studied Carmike to the point were “we’ve gotten

quite granular looking theater by theater by theater.” Defendant Aron also noted that while

Carmike’s results were adversely impacted by the renovation of two of its largest theaters, “potent

marketing programs” and “some targeted investment” would improve Carmike’s performance,

stating, in pertinent part, as follows:

                On the issue of Carmike, I – it’s really complicated. There are a lot of
        Carmike theaters that are doing just great. So we’ve gotten quite granular looking
        theater by theater by theater, and there are so many reasons. And I want to be
        careful what I say because I don’t want to say anything uncharitable to the prior
        management team. It’s a problem that we inherited. It’s a problem that we’ll solve.

                You could imagine, with any company that announced it was for sale in
        March and got sold in December, that decisions that might have been taken to drive
        short-term performance might have been put on hold, thinking those are more
        appropriate decisions that should be taken by the new owner. That’s one argument.

                Another argument is some of the Carmike theaters did have competitive
        activity around them. And they – since Carmike was not a company that really
        believed in recliner reseats, they didn’t counter some of that competitive activity by
        putting in re-seated theaters of their own. Clearly, that’s something that will change.

                When we have a theater that we renovate, we do it in 3 to 6 months. Two of
        the largest theaters in their system, they shut down for renovation, and I believe
        they’re going to be closed for 15 months – which, again, I know it’s only 2 theaters
        out of 270, but when they’re significant theaters of size and when you’re starting to
        look at all these things on 0.10% here and 1% over there, it matters.

                There’s a lot more than that. We’ve already taken 5 of their theaters. For
        example, that they had as sub-run theaters, meaning they’re showing older films, and
        we’ve already converted those – at a very deeply discounted price. We’ve already
        converted those theaters to first-run movie houses, showing the latest Hollywood
        releases at full price.

                 So there are a lot of reasons there – for as many of their theaters, there are
        sort of reasons that affect big patches of their theaters, and we think we have a solid
        understanding of what the issues have been, theater by theater, and we’re putting in
        solutions, theater by theater.

                 The Carmike theaters in question have only been branded as AMC theaters in
        the last 30, 60, 90 days. The first cut-over was mid-January, and the last cut-over is

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       going to be mid-May. So as these theaters become AMC-branded theaters with more
       potent marketing programs and the like and some targeted investment to improve
       the product, we think we’ll see real benefits.

               So we’re not at all upset about all this. It’s just more upside to come. And I
       said it before, but I’ll say it again, thank goodness we moved fast to get cost
       synergies because that’s one of the things that allowed us to have a blowout quarter,
       even with these Carmike issues to deal with.

       112.     That same day, May 8, 2017, AMC filed with the SEC its Form 10-Q for the quarter

ended March 31, 2017 (the “Q1 2017 Form 10-Q”), which was signed by defendants Aron and

Ramsey. The Q1 2017 Form 10-Q contained materially false and misleading disclosures about:

(i) the operations of Carmike; (ii) the seasonality of AMC’s foreign operations; (iii) AMC’s loyalty

program, AMC Stubs; (iv) AMC’s MD&A; and (iv) AMC’s disclosure controls, as well as

defendants Aron’s and Ramsey’s certifications thereon. See ¶101, supra.

       113.     The statements referenced above in ¶¶85-88, 90-101, 103, 105-111 were materially

false and misleading when made because they misrepresented and failed to disclose the following

adverse facts, which were known to Defendants or recklessly disregarded by them:

                (a)    that the operations of Carmike had been experiencing a prolonged period of

financial underperformance due, in large part, to a protracted period of underinvestment in its

theaters;

                (b)    that Carmike had experienced a significant loss in market share when its loyal

patrons migrated to competitors that had renovated and upgraded their theaters;

                (c)    that AMC was able to retain only a very small number of Carmike’s loyalty

program members after the Carmike acquisition;

                (d)    that the issues identified in (a)-(c) above were then having a material adverse

effect on Carmike’s operations and theater attendance and, in response, AMC planned to boost

visitation levels at Carmike theaters by materially expanding promotional and capital investment

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spending activity, which was reasonably likely to have a material adverse effect on AMC’s near-

term operating results;

               (e)     Defendants’ representations about the seasonality of AMC’s business were

materially false and misleading;

               (f)     the representations in AMC’s 2016 Form 10-K and Q1 2017 Form 10-Q

concerning Carmike’s operations, the seasonality of its business, AMC’s MD&A and AMC’s

disclosure controls were materially false and misleading;

               (g)     the certifications issued by defendants Aron and Ramsey concerning AMC’s

disclosure controls were materially false and misleading; and

               (h)     that, as a result of the foregoing, Defendants lacked a reasonable basis for

their positive statements about AMC’s then-current business and future financial prospects,

including their statements relating to AMC’s financial guidance, as well as the cost synergies

associated with the “flawless” integration of Carmike.

       114.    On August 1, 2017, after the close of the market, AMC issued a press release

announcing its preliminary financial results for Q2 2017, the period ending June 30, 2017. The press

release announced that AMC expected to report total Q2 revenues of approximately $1.2 billion and

a net loss in the range of $178.5 to $174.5 million, or a loss of $1.36 to $1.34 per diluted share. The

press release also announced that AMC’s 2017 revenues were expected to be between $5.10 and

$5.23 billion and its 2017 net loss to be between $150 and $125 million, or a loss of $1.17 to $0.97

per diluted share.

       115.    In response to these much worse-than-expected results, the price of AMC common

stock plummeted nearly 27%, on very heavy trading volume, falling from $20.80 per share on

August 1, 2017 to $15.20 per share on August 2, 2017.


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       116.    On August 4, 2017, AMC held a conference call with analysts and investors to

discuss the Company’s preliminary Q2 results. Defendant Aron commented that Q2 was “simply a

bust” and highlighted several reasons for the Company’s poor results during the quarter.

       117.    The reasons highlighted by defendant Aron included the seasonality of AMC’s

international business. For the first time, defendant Aron revealed that “Q2, seasonally, is often the

smallest quarter of the year in Europe.”

       118.    Later, during the conference call’s Q&A session, a securities analyst asked

Defendants if there was “a reason why [they] weren’t able to disclose [the seasonality of AMC’s

international business]?” In response, defendant Aron used the pretext of AMC’s international

operations being accounted for under international accounting standards as the reason for the non-

disclosure. Indeed, the seasonality of AMC’s international business is not predicated upon the

accounting standards it utilizes. After the release of the Q2 preliminary earnings results, securities

analysts issued reports calling out the seasonality of AMC’s international business, including one

that noted it “played a role in our (and likely the Street’s) mismodeling of the quarter.”

       119.    In addition, defendant Aron highlighted Carmike’s performance as a major

contributor to AMC’s much worse-than-expected Q2 results, stating that “[o]ur legacy AMC theaters

were stars, outperforming the industry, but our acquired Carmike theaters . . . were not stars.”

Defendant Aron explained that, during Q2, the box office results in the entire United States were

down 4.4%, while, in contrast, admissions revenue at legacy AMC theaters were down only 3.1%.

However, the newly acquired Carmike theaters suffered an 11.3% revenue decline during Q2, or

150% more than the national average.

       120.    During the Q2 conference call’s Q&A session, defendant Aron explained that

Carmike’s poor Q2 performance was caused by a loss of market share that occurred during 2016 and


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identified “literally 6” different issues that had been having a material adverse effect on Carmike’s

operations and patron attendance, which AMC estimated would take until at least 2018 to resolve.

Among these issues were: (i) only a small number of Carmike’s loyalty program members were

willing to join AMC’s loyalty program after the Carmike acquisition; (ii) Carmike lost patronage to

competitors that had upgraded and/or renovated their facilities; and (iii) the closure of two of

Carmike’s “biggest, most successful” theaters.

       121.    Defendant Aron stated, in pertinent part, as follows:

       [W]e mentioned this a little bit on the first quarter call, as we went back and looked,
       in 8 of the 12 months in ‘16, Carmike, as a circuit, had declining market share,
       including 3 of the past – 3 of the 4 months between September and December, it had
       declining market share. When you look at what Carmike as a company did
       between April and December to modernize its circuit after it put itself under contract
       to be sold, it didn’t do very much. And so the circuit essentially went on dead stop
       around April-ish of – remember, we put them under contract in March, April-ish of
       ‘16, and we didn’t get to change that until December of ‘16. What we found is that
       we’ve already gone through each of the several hundred Carmike theaters one by one
       with this – across the top – departmental team that I’ve told you about, and there are
       literally 6 different reasons that tend to come up most often as to what’s going on in
       a particular theater.

       122.    Defendant Aron further noted that Carmike had lost market share because AMC was

unable to retain Carmike loyalty program members and that it essentially had to rebuild the program

“from scratch,” stating, in pertinent part, as follows:

       I’ll give you another. When Carmike was handed over to us on December 21, only
       200,000 individuals from their loyalty program joined our loyalty program. Even
       though – even though, at the same time, AMC has over 9 million people from our
       loyalty program coming – stemming out of the – by then, it would have been about 7
       million in the loyalty program. So we’ve had to start the loyalty program essentially
       over from scratch.

       123.    Defendant Aron also commented on Carmike’s poor performance and discussed how

long it might take for AMC to turn around Carmike’s operations, stating, in pertinent part:

       And as I said, there have been many identified issues. And they got to be knocked
       down one at a time. And as we looked at the issues that were floating around the
       Carmike circuit, about 40% of the attendance issues in the Carmike circuit was
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       because somebody came into town and put a recliner theater near a Carmike
       theater and Carmike never responded. . . . Another issue for Carmike is it had 2 of
       its biggest, most successful theaters that were closed for renovation. And the
       theaters were closed for over a year. And they’re just coming back on stream this
       summer. So we’re going to get a material bump theoretically by 2 of their biggest,
       strongest and best-performing theaters finally reopening and coming back online.
       And it’s literally issue-by-issue. . . . Can we turn this circuit around in 9 months? So
       is it January to March of ‘18? Or is it taking us 12 months and it’s January to June of
       ‘18? Or does it taking us slightly longer than that? I don’t know. But I’m hopeful
       that we can get it sorted out and turned in the first half of ‘18.

       124.    The market for AMC common stock was open, well developed and efficient at all

relevant times. As a result of the materially false and misleading statements and omissions alleged

herein, AMC common stock traded at artificially inflated prices during the Class Period. Plaintiff

and other members of the Class purchased or otherwise acquired AMC common stock relying upon

the integrity of the market price of AMC common stock and market information relating to AMC,

and have been damaged thereby.

       125.    During the Class Period, Defendants materially misled the investing public, thereby

inflating the price of AMC common stock, by publicly issuing false and misleading statements and

omitting to disclose material facts necessary to make Defendants’ statements, as set forth herein, not

false and misleading. Said statements and omissions were materially false and misleading in that

they failed to disclose material adverse information and misrepresented the truth about the Company

and its business and operations, as alleged herein.

       126.    At all relevant times, the material misrepresentations and omissions particularized in

this complaint directly or proximately caused, or were a substantial contributing cause of, the

damages sustained by plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false or misleading

statements about AMC’s operations, acquisitions and future financial prospects. These material

misstatements and omissions had the cause and effect of creating in the market an unrealistically

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positive assessment of AMC common stock and its business, thus causing the Company’s shares to

be overvalued and artificially inflated at all relevant times. Defendants’ materially false and

misleading statements during the Class Period resulted in plaintiff and other members of the Class

purchasing the Company’s shares at artificially inflated prices, thus causing the damages complained

of herein.

                                    Additional Scienter Allegations

       127.       For the purposes of this section of the complaint, the term “Defendants” refers only to

AMC, Aron and Ramsey.

       128.       As alleged herein, Defendants acted with scienter in that Defendants knew, or

recklessly disregarded, that the public documents and statements they issued and disseminated to the

investing public in the name of the Company, or in their own name, during the Class Period were

materially false and misleading. Defendants knowingly and substantially participated or acquiesced

in the issuance or dissemination of such statements and documents as primary violations of the

federal securities laws. Defendants, by virtue of their receipt of information reflecting the true facts

regarding AMC, and their control over and/or receipt and/or modification of AMC’s allegedly

materially misleading misstatements, were active and culpable participants in the fraudulent scheme

alleged herein.

       129.       Defendants knew and/or recklessly disregarded the false and misleading nature of the

information they caused to be disseminated to the investing public. The fraudulent scheme described

herein could not have been perpetrated during the Class Period without the knowledge and

complicity of, or at least the reckless disregard by, personnel at the highest levels of the Company,

including defendants Aron and Ramsey.

       130.       Defendants Aron and Ramsey, because of their positions with AMC, controlled the

contents of AMC’s public statements during the Class Period. Defendants Aron and Ramsey were
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each provided with or had access to the information alleged herein to be false and/or misleading

prior to or shortly after its issuance and had the ability and opportunity to prevent its issuance or

cause it to be corrected. Because of their positions and access to material non-public information,

defendants Aron and Ramsey knew or recklessly disregarded that the adverse facts specified herein

had not been disclosed to and were being concealed from the public and that the positive

representations that were being made were false and misleading. As a result, each of the Defendants

is responsible for the accuracy of AMC’s corporate statements and is, therefore, responsible and

liable for the representations contained therein.

       131.    Defendants were motivated to engage in their fraudulent conduct to facilitate and

maximize the amount of money the highly leveraged AMC could raise in the SPO. As noted herein,

AMC raised approximately $618 million in the SPO, a portion of which was used to repay

outstanding bridge loans incurred in connection with AMC’s acquisition of Carmike, with the

remaining proceeds used to finance a portion of the Nordic acquisition.

       132.    In addition, the scienter of the Defendants is underscored by the Sarbanes-Oxley

mandated certifications of defendants Aron and Ramsey, which acknowledged their responsibility to

investors for establishing and maintaining controls to ensure that material information about AMC

was made known to them and that the Company’s disclosure-related controls were operating

effectively.

                                          Loss Causation

       133.    For the purposes of this section of the Complaint, the term “Defendants” refers only

to AMC, Aron and Ramsey.

       134.    During the Class Period, as detailed herein, Defendants engaged in a scheme to

deceive the market and a course of conduct that artificially inflated the price of AMC common stock

and operated as a fraud or deceit on Class Period purchasers of AMC common stock by failing to
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disclose and misrepresenting the adverse facts detailed herein.           When Defendants’ prior

misrepresentations and fraudulent conduct were disclosed and became apparent to the market, the

price of AMC common stock declined significantly as the prior artificial inflation came out of the

stock’s price.

       135.      As a result of their purchases of AMC common stock during the Class Period,

plaintiff and the other Class members suffered economic loss, i.e., damages, under the federal

securities laws. Defendants’ false and misleading statements had the intended effect and caused

AMC common stock to trade at artificially inflated levels throughout the Class Period, trading as

high as $35.45 per share on December 27, 2016.

       136.      By concealing from investors the adverse facts detailed herein, Defendants presented

a misleading picture of AMC’s business, risks and future financial prospects. When the truth about

the Company was revealed to the market, the price of AMC common stock fell significantly,

removing the inflation therefrom and causing real economic loss to investors who had purchased

AMC common stock during the Class Period.

       137.      The decline in the price of AMC common stock after the corrective disclosures came

to light was a direct result of the nature and extent of Defendants’ fraudulent misrepresentations

being revealed to investors and the market. The timing and magnitude of the price decline in AMC

common stock negates any inference that the losses suffered by plaintiff and the other Class

members were caused by changed market conditions, macroeconomic or industry factors or

Company-specific facts unrelated to Defendants’ fraudulent conduct.

       138.      The economic loss, i.e., damages, suffered by plaintiff and the other Class members

was a direct result of Defendants’ fraudulent scheme to artificially inflate the price of AMC common




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stock and the subsequent significant declines in the value of AMC common stock when Defendants’

prior misrepresentations and other fraudulent conduct were revealed.

                            Applicability of Presumption of Reliance:
                                 Fraud on the Market Doctrine

        139.   At all relevant times, the market for AMC common stock was an efficient market for

the following reasons, among others:

               (a)     AMC common stock met the requirements for listing and was listed and

actively traded on the NYSE, a highly efficient, national stock market;

               (b)     as a regulated issuer, AMC filed periodic public reports with the SEC and the

NYSE;

               (c)     AMC regularly communicated with public investors via established market

communication mechanisms, including the regular dissemination of press releases on the national

circuits of major newswire services and other wide-ranging public disclosures, such as

communications with the financial press and other similar reporting services; and

               (d)     AMC was followed by securities analysts employed by major brokerage firms

who wrote reports that were distributed to the sales force and certain customers of their respective

brokerage firms. Each of these reports was publicly available and entered the public marketplace.

        140.   As a result of the foregoing, the market for AMC common stock promptly digested

current information regarding AMC from all publicly available sources and reflected such

information in the price of the stock. Under these circumstances, all purchasers of AMC common

stock during the Class Period suffered similar injury through their purchases of AMC common stock

at artificially inflated prices and a presumption of reliance applies.




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                                           No Safe Harbor

       141.    For the purposes of this section of the complaint, the term “Defendants” refers only to

AMC, Aron and Ramsey.

       142.    The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this complaint.

Many of the specific statements plead herein were not identified as “forward-looking statements”

when made. To the extent there were any forward-looking statements, there were no meaningful

cautionary statements identifying important factors that could cause actual results to differ materially

from those in the purportedly forward-looking statements. Alternatively, to the extent that the

statutory safe harbor does apply to any forward-looking statements plead herein, Defendants are

liable for those false forward-looking statements because at the time each of those forward-looking

statements was made, the particular speaker knew that the particular forward-looking statement was

false and/or the forward-looking statement was authorized and/or approved by an executive officer

of AMC who knew that those statements were false when made.

                                             COUNT IV

                 Violation of §10(b) of the Exchange Act and Rule 10b-5
           Promulgated Thereunder Against Defendants AMC, Aron and Ramsey

       143.    Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       144.    During the Class Period, AMC, Aron and Ramsey disseminated or approved the false

statements specified above, which they knew or deliberately disregarded were misleading in that

they contained misrepresentations and failed to disclose material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading.




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       145.    Defendants AMC, Aron and Ramsey violated §10(b) of the Exchange Act and Rule

10b-5 in that they:

               (a)     employed devices, schemes and artifices to defraud;

               (b)     made untrue statements of material fact or omitted to state material facts

necessary in order to make the statements made, in light of the circumstances under which they were

made, not misleading; or

               (c)     engaged in acts, practices and a course of business that operated as a fraud or

deceit upon the plaintiff and others similarly situated in connection with their purchases of AMC

common stock during the Class Period.

       146.    Plaintiff and the Class have suffered damages in that, in reliance on the integrity of

the market, they paid artificially inflated prices for AMC common stock. Plaintiff and the Class

would not have purchased AMC common stock at the prices they paid, or at all, if they had been

aware that the market price had been artificially and falsely inflated by Defendants’ misleading

statements.

       147.    As a direct and proximate result of Defendants’ wrongful conduct, plaintiff and the

other members of the Class suffered damages in connection with their purchases of AMC common

stock during the Class Period.

                                            COUNT V

                            Violation of §20(a) of the Exchange Act
                          Against Defendants AMC, Aron and Ramsey

       148.    Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       149.    Defendants Aron and Ramsey acted as controlling persons of AMC within the

meaning of §20(a) of the Exchange Act. By reason of their positions as officers and/or directors of

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AMC, defendants Aron and Ramsey had the power and authority to cause AMC and its employees to

engage in the wrongful conduct complained of herein. AMC controlled defendants Aron and

Ramsey and all of its employees. By reason of such conduct, Defendants are liable pursuant to

§20(a) of the Exchange Act.

                                     PRAYER FOR RELIEF

       WHEREFORE, plaintiff prays for relief and judgment as follows:

       A.      Determining that this action is a proper class action, designating plaintiff as Lead

Plaintiff and certifying plaintiff as a class representative under Rule 23 of the Federal Rules of Civil

Procedure and plaintiff’s counsel as Lead Counsel;

       B.      Awarding plaintiff and the other members of the Class damages together with interest

thereon;

       C.      Awarding rescission or a rescissory measure of damages;

       D.      Awarding plaintiff and the other members of the Class the costs and expenses of this

litigation, including reasonable attorneys’ fees, accountants’ and experts’ fees, and other costs and

disbursements; and

       E.      Awarding plaintiff and the other members of the Class such other and further relief as

may be just and proper under the circumstances.




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                                      JURY DEMAND

      Plaintiff hereby demands a trial by jury.

DATED: January 12, 2018,                    ROBBINS GELLER RUDMAN
                                             & DOWD LLP
                                            SAMUEL H. RUDMAN


                                                           /s/ Samuel H. Rudman
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